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     Class Action Complaint
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1                               UNITED STATES DISCTRICT COURT
2
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
3

4    HOLLY CHURHILL; LEIGH                      Case No.: '22CV1257 BEN RBB
     BURDINE; DANIELLE SMITH; LUCY
5    TORRES; BRIANNA KURTH;                     CLASS ACTION COMPLAINT
6    TIMOTHY STUCKER; CANDICE                   FOR:
     HIDDLESTONE; RYAN BRAY;
7
     SUSAN CALLES; EDWARD EWING;                 1. VIOLATION OF THE EQUAL
8    GINA SMITH; KARLA POUKKULA;                    PROTECTION CLAUSE (42
     MAUREENA GARCIA; SPRING                        U.S.C. § 1983)
9
     VICK; DAVID HARGENBURGER;                   2. DECLARATORY RELIEF
10   MAI TEAGUE, SHANNON TENNEY;                 3. NEGLIGENCE
11
     CHRISTINA AVALOS; VANESSA
     ARZOLA; OLIVIA DENSON,
12   individual California residents, in each    DEMAND FOR JURY TRIAL
13   capacity as parent and legal guardian of
     their child, and on behalf of the Proposed
14   Class,
15
                         Plaintiffs
16

17                       v.
18
     SAN DIEGO UNIFED SCHOOL
19   DISTRICT; GROSSMONT UNION
     HIGH SCHOOL DISTRICT; HELIX
20
     CHARTER HIGH SCHOOL; CHULA
21   VISTA ELEMENTARY SCHOOL
     DISTRICT; SWEETWATER UNION
22
     HIGH SCHOOL DISTRICT; LA
23   MESA SPRING VALLEY SCHOOL
24
     DISTRICT; and DOES 1-10,

25                      Defendants
26

27

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                                             2                  ____________
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1                                    I. JURISDICTION AND VENUE
2    1.     This Court has jurisdiction over this matter under 28 U.S.C. §1331 as
3    this matter arises under the Constitution and laws of the United States, including
4    but not limited to 20 U.S.C. §1400 et seq. and 42 U.S.C. §1983, and under 28
5    U.S.C. §1343, as this matter seeks to redress the deprivation, under color of state
6
     law, of a right, privilege or immunity secured by the Constitution of the United
7
     States or by any Act of Congress providing for equal rights of citizens or of all
8
     persons within the jurisdiction of the United States. This Court has the authority to
9
     hear class action suits such as this under 28 U.S.C. §1332(d).
10
     2.     Venue is appropriate in this Court under 28 U.S.C. §1391 because this
11
     is the District in which most of the Defendants maintain offices are located, and
12
     where Defendants exercise their authority in their official capacities, and because
13
     a substantial part of the events and omissions giving rise to the claims alleged
14
     herein occurred in this judicial district.
15
     3.     This Court has the authority to award the requested declaratory relief
16
     under 28 U.S.C. §2201(a). This Court has the authority to award such further
17
     relief as the court deems appropriate under 28 U.S.C. §2202 and under 20 U.S.C.
18
                                                     grant such relief as the court determines
19
                              This Court has the authority                                 s
20
     under 42 U.S.C. §1983, pursuant to 42 U.S.C. §1988, and under 20 U.S.C. §
21
     1415(i)(3)(B).
22
                                           II.   THE PARTIES
23

24   A.       Plaintiffs
25   4.       Plaintiffs HOLLY CHURHILL, LEIGH BURDINE, DANIELLE
26   SMITH, LUCY TORRES, BRIANNA KURTH, TIMOTHY STUCKER,
27   CANDICE HIDDLESTONE, RYAN BRAY, SUSAN CALLES, EDWARD
28

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     Class Action Complaint
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1    EWING and GINA SMITH are parents and guardians of children who attended
2    schools within the San Diego Unified School D                       during the
3    Liability Period.
4    5.       Plaintiff KARLA POUKKULA is the parent and guardian of a child who
5    attended a school within the Chula Vista Elementary                     CVESD
6
     during the Liability Period.
7
     6.       Plaintiff MAUREENA GARCIA is the parent and guardian of a child who
8
     attended a school within the Sweetwater Union High School Distri          UH
9
     during the Liability Period.
10
     7.       Plaintiffs SPRING VICK and DAVID HARGENBURGER are parents and
11
     guardians of children who attended schools within the La Mesa Spring Valley
12
                              LMSV      during the Liability Period.
13
     8.       Plaintiffs MAI TEAGUE, SHANNON TENNEY, CHRISTINA AVALOS,
14
     VANESSA ARZOLA and OLIVIA DENSON are parents and guardians of
15
     children who attended schools within the Grossmont Union High School District
16
          GUH            during the Liability Period. Plaintiffs TEAGUE, TENNEY,
17
     AVALOS and ARZOLA, who are parents or guardians of children who attended
18
     Helix Charter High School ( HELIX ) during the Liability Period, also seek
19
     redress against HELIX for the claims alleged herein.
20
     B.       Defendants
21
     9.       The Defendant School Districts are California Local Education Agencies as
22
     defined by the California Education Code.
23

24
     10.      Defendant SDUSD consists of 113 elementary schools, 24 middle schools,

25
     4 atypical schools, 10 alternative schools, 27 high schools and 25 charter

26   schools. Plaintiffs are informed and believe that SDUSD serves more than

27   130,000 students from preschool to high school and has an annual budget of

28   approximately $1.6 billion.

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1    11.       Defendants CVESD and SUHSD are school districts in the San Diego area
2    which serve many of the same students depending on what grade level the student
3    is in. Many students of these Districts begin their education in the CVESD and
4    transfer to the SUHSD after middle school.
5    12.       Defendant LMSVSD consists 21 schools. Plaintiffs are informed and
6
     believe that LMSVSD serves more than 12,000 students from preschool to
7
     high school and has an annual budget of approximately $100 million.
8
     13.      Defendant GUHSD is a California Local Education Agency serves 13 High
9
     Schools, an Adult Education School, and a Learning Choice Academy. Plaintiffs
10
     are informed and believe that GUHSD serves more than 16,760 students from
11
     grades 9 to 12 and has an annual budget of approximately $190 Million.
12
     Defendant HELIX is a part of the GUHSD
13
     14.      SDUSD, LMSVSD, CVESD, SVSD, HELIX and GUHSD are hereinafter
14
     referred to as Defendants.
15
     15.      The true names and capacities, whether individual, corporate, associate, or
16
     otherwise, of Defendants sued here in as DOES 1 through 5, inclusive, are
17
     currently unknown to Plaintiffs, who therefore sue such Defendant(s) by such
18
     fictitious names. Plaintiffs are informed and believe, and based thereon allege,
19
     that Defendants designated herein as a DOE are legally responsible in some
20
     manner for the unlawful acts referred to herein. Plaintiffs will seek leave of court
21
     to amend this complaint to reflect the true names and capacities of the Defendants
22
     designated hereinafter as DOES when such identities become known.
23

24
                              III.   GENERAL ALLEGATIONS

25
           A. Summary of Claims

26   16.      On about March 16, 2020, in response to the nationwide COVID-19

27   pandemic, the Districts closed all of their member schools. On April 6, 2020, the

28   Districts began offering only distance learning, online classes to its students. For

                                                5                       ____________
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1    approximately one year thereafter, the Districts students were provided with only
2    online schooling, or distance                .
3    17.      Plaintiffs allege it is now understood and accepted by this year of online
4    schooling had an overall negative and harmful effect on students. Plaintiffs allege
5    the year of exclusively online schooling resulted in less accessible, less effective
6
     and less educational time for the Districts students. This year of only online
7
     schooling by the Districts also violated California law, which provided that during
8
     the Covid-19 pandemic, California school districts were required to provide their
9
     students with a minimum amount of hours of online class per week, the same
10
     standards on distance learning provided to underprivileged students, and a certain
11
     amount of in-person instruction. Plaintiffs allege the Districts failed to provide
12
     these services to its students, which has caused actual and significant harm to
13
     students of the Districts.
14
     18. Plaintiffs allege the Districts failure to provide their students with the
15
     quality and amount of education services mandated by California law constituted
16
     a violation of these students 14th Amendment right to equal education.
17
     19. Plaintiffs also allege these actions and omissions by Districts violated Senate
18
                              , was signed by Governor Newsom on June 29, 2020, regarding
19
     school closures and distanced learning. SB 98 was codified in Education Code
20
     section 43500 et seq. Section 43500                                            tion in
21
     which the pupil and instructor are in different locations and pupils are under the
22
     general supervision of a certificated employee of the local educational
23

24
     20.      Education Code section 43503(b), places a strong emphasis on teacher-

25
     student engagement in distance learning. It provides that distance learning must

26   include the following minimum components: (1) provision of access for all pupils

27   to connectivity and devices adequate to participate in the educational program and

28   complete assigned work; (2) content aligned to grade level standards that is

                                                      6                  ____________
     Class Action Complaint
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1    provided at a level of quality and intellectual challenge equivalent to in-person
2    instruction; (3) academic and other supports designed to address the needs of
3    pupils who are performing below grade level, or need support in other areas; (4)
4

5    individualized education program; (5) designated and integrated instruction in
6
     English language development; and (6) daily live interaction with certificated
7
     employees and peers for pur0070oses of instruction, progress monitoring, and
8
     maintaining school connectedness.
9
           B. Plaintiffs Constitutional Claims
10
     21.      Plaintiffs allege the Districts violations of these Education Code provisions
11
     violated the Equal Protection Clause of the 14th Amendment to the U.S.
12
     Constitution and caused damages to the Districts                     tion of
13
     California statutory and common law.
14
     22.      Plaintiffs allege the Privileges or Immunities Clause of the Fourteenth
15
     Amendment s right to education:
16
     jurisdiction the equal protection of the laws
17
     23.       Plaintiffs allege the Districts unlawful and harmful acts and omissions
18
     alleged here constituted a violations of the Equal Protection clause, 42 U.S.C. §
19
     1983, by not providing: (1) the right to equal protection, free from arbitrary
20
     treatment by the State; nor (2) the right to equal and meaningful access to
21
     education, free from arbitrary state action resulting in a disparate impact on the
22
     students as compared to other comparable students.
23

24
     25.                                                                   fications that

25
     affect some group                                         En

26   Agric., 553 U.S. 591, 601 (2008) (citations omitted). The court should engage in an

27   analysis of                                                                 als whose

28

                                                7                       ____________
     Class Action Complaint
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1    situations are arguably indis                    Ross v. Moffitt, 417 U.S. 600, 609
2    (1974).
3    26. Plaintiffs allege these acts and omissions resulted in the Districts students
4    not receiving the state mandated online education that other school districts in
5    California provided to their similarly situated students. This discrepancy in the
6
     online education provided was arbitrary and resulted in an overall lack of access to
7
     online education for the Districts        ents as compared to students in other
8
     districts.
9
     27.      Plaintiffs allege there was no rational basis for the Districts to provide the
10
     lesser level of online education which was actually provided to its students.
11
     Plaintiffs allege                                                actions and omissions
12
     existed. Plaintiffs allege the restrictive alternatives included but were not limit to,
13
     providing the education services which were to be provided during this time as
14
     mandated by California law.
15
     28.      Plaintiffs allege Defendants intentionally, negligently, and arbitrarily
16
     imposed restrictions on the access to schools in violation of their students right to
17
     equal protection under the law.
18
     B.       Plaintiffs State Law Claims
19
     29.      Pursuant to Education section 43503(c): For the 2020 21 fiscal year, a
20
     local educational agency shall satisfy the annual instructional day requirements
21
     described in Sections 41420, 46200.5, and 46208, and in Section 11960 of Title 5
22
     of the California Code of Regulations through in-person instruction or a
23

24
     combination of in-person instruction and distance learning pursuant to this part.

25
     For fiscal year 2020 21 a minimum day of instruction was required to be 180

26   minutes of instructional minutes for kindergarten, 230 minutes of instructional

27   time for grades 1 to 3, and 240 minutes of instructional time for grades 4-12.

28   30.      Education Code section 34503 provides that "daily live interaction" may

                                                  8                        ____________
     Class Action Complaint
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1    take the form of internet or telephonic instruction, or by other means permissible
2    under public health orders. If "daily live interaction" is not "feasible" as part of
3    regular instruction, the [school district] shall develop an alternative plan for
4    frequent live interaction that provides a comparable level of service and school
5    connectedness.
6
     31.      Education Code section 43502, contains a statement that school
7
     districts shall offer in-person instruction and may offer distance learning,
8
     pursuant to the requirements of this pa
9
     32.      Education Code section 43504 contains a statement that school
10
     districts shall offer in-person instruction to the greatest extent possible
11
     33.      Plaintiffs allege that although SB 98 mandated that all school districts in
12
     California must offer some amount of in-person instruction to all students, the
13
     Districts did not offer in-person learning during the entirety of the Liability
14
     Period.
15
     34.       SB 98 mandates that school districts such as the Districts reacting to state
16
     or local public health guidance could offer a range of educational options,
17
     including hybrid instructional models and 100% distance learning, provided that
18
     at least one option must include some amount of in-person instruction.
19
     35.      Plaintiffs allege that the Districts failed its students during the COVID-19
20
     pandemic by providing only distance learning in violation of Education Code
21
     section 43503(b)(6) to nearly all of its students.
22
     36.      This failure has significantly harmed Plaintiffs and the proposed class in a
23

24
     number of ways. Defendants also failed to provide the same access to distance

25
     learning for all students in the Districts, as required by law.

26   37.      Plaintiffs also allege the Districts failed to provide Plaintiffs and the

27   Proposed Class with the required minimum number of instructional hours. This

28   failure has also significantly harmed Plaintiffs children and the Proposed Class.

                                                   9                        ____________
     Class Action Complaint
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1    38.      Plaintiffs assert the administrative process is not appropriate or required for
2    the class claims such as the ones presented here since: (1) the administrative
3    process would be futile, (2) it is improbable that adequate relief can be obtained
4    by pursuing administrative remedies because the hearing officer lacks authority to
5    grant the relief sought, and (3) the claim arises from a policy or practice of general
6
     applicability that is contrary to law. (See Paul G. v. Monterey Peninsula Unified
7
     Sch. Dist., 933 F.3d 1096, 1101-1102 (9th Cir. 2019); see also Hoeft v. Tucson
8
     Unified Sch. Dist., 967 F.2d 1298, 1303-1304 (9th Cir. 1992.)) Here, the
9
     exhaustion of administrative remedies for a Proposed Class of over 700,000 can
10
     only be properly and fairly adjudicated in court. The class action negligence
11
     claims made here also arise from a policy or practice of general applicability the
12
     acts of omissions alleged herein taken by the Districts during the Liability Period.
13

14
     39.      Plaintiffs, through their counsel, timely sent a government tort claim

15
     letter to each District via certified mail, which stated the claims alleged herein.

16
                              IV.   CLASS ACTION ALLEGATIONS

17   40.      Plaintiffs seek to represent the following Proposed Class pursuant to FRCP
18   Rule 23: All persons, by and through their parent(s) or guardian(s), and all
19   adult age current and former students, who were enrolled in one of the
20   Districts schools between March 14, 2020 to April 23, 2021.
21   41.      Numerosity. The members of the Proposed Class are so numerous that
22   their individual joinder is impracticable. Plaintiffs are informed and believe, and
23   on that basis allege, that the Proposed Class contains over 700,000 persons. The
24
     precise number of Proposed Class members is unknown to Plaintiffs. The true
25
     number of the Proposed Class is known by the Defendants, however, and thus,
26
     may be notified of the pendency of this action by first class mail, electronic mail,
27
     and by published notice.
28

                                                  10                      ____________
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1    42.       Existence and Predominance of Common Questions of Law and Fact.
2    Common questions of law and fact exist as to all members of the Proposed Class
3    and predominate over any questions affecting only individual Proposed Class
4    members.
5    43.       Typicality. Plaintiffs claims are typical of the claims of the Proposed
6
     Class.
7
     44.       Adequacy of Representation. Plaintiffs will fairly and adequately protect
8
     the interests of the members of the Proposed Class. Plaintiffs have retained
9
     counsel experienced in complex class action litigation. Plaintiffs intend to
10
     prosecute this action vigorously. Plaintiffs have no adverse or antagonistic
11
     interests to those of the Proposed Class.
12
     45.      Superiority. A class action is superior to all other available means for the
13
     fair and efficient adjudication of this controversy. The damages or other financial
14
     detriment suffered by individual Proposed Class members is relatively small
15
     compared to the burden and expense that would be entailed by individual litigation
16
     of their claims against the defendant. It would thus be virtually impossible for the
17
     class, on an individual basis, to obtain effective redress for the wrongs done to
18
     them. Furthermore, even if Proposed Class members could afford such
19
     individualized litigation, the court system could not. Individualized litigation
20
     would create the danger of inconsistent or contradictory judgments arising from the
21
     same set of facts. Individualized litigation would also increase the delay and
22
     expense to all parties and the court system from the issues raised by this action. By
23

24
     contrast, the class action device provides the benefits of adjudication of these

25
     issues in a single proceeding, economies of scale, and comprehensive supervision

26   by a single court, and presents no unusual management difficulties under the

27   circumstances here.

28

                                                 11                      ____________
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1                                   V.     CAUSES OF ACTION
2
                                         FIRST CAUSE OF ACTION
3
                       VIOLATION OF THE EQUAL PROTECTION CLAUSE
4

5
     46.      Plaintiffs incorporate herein by reference each and every allegation

6
     contained in the preceding paragraphs of this Complaint as though fully set forth

7    herein.

8    47.      The Districts failure to properly employ the distance learning scheme
9    mandated by California law resulted in arbitrarily treatment of Plaintiffs and the
10   proposed class.
11
     48.      The distance learning actually provided by the Districts arbitrarily restricted
12
     access to education for Plaintiffs and the proposed class.
13

14   49.      There was no rational basis for the Districts to not provide the proper
15   distance learning mandated under California law.
16
     50.      Defendants intentionally, discriminatorily, and arbitrarily imposed
17
     restrictions on education services during the Liability Period in violation of
18
                              o Equal Protection under the law.
19

20
     51.      Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to declaratory

21   relief requested herein and attorneys fees.

22                                   SECOND CAUSE OF ACTION
23
                                         DECLARATORY RELIEF
24

25
     53.         Plaintiffs re-allege the paragraphs above as if fully set forth herein.

26   54.         Plaintiffs allege that there is presently a dispute between Plaintiffs and the

27   Districts regarding the failure to provide education services claims made in this
28   complaint.

                                                     12                     ____________
     Class Action Complaint
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1    55.         Plaintiffs seek from the court a declaratory judgment finding that:
2                        1.       During the Liability Period the Districts failed to provide in-
3                        person instruction to Plaintiffs and the Proposed Class as mandated to
4                        by law.
5                        2.       During the Liability Period the Districts failed to provide
6
                         underprivileged students and/or students from underserved
7
                         communities the same standard of and access to distance learning as
8
                         other students attending the Districts schools.
9
                         3.       During the Liability Period the Districts failed to provide
10
                         students with the daily amount of hours of instruction provided
11
                         mandated by law.
12
                         4.       The Districts acted negligently during the Liability Period by
13
                         failing to provide in-person learning to Plaintiff and the proposed
14
                         class.
15
                         5.       The Districts acted negligently during the Liability Period by
16
                         failing to ensure that underprivileged students and/or students from
17
                         underserved communities received equal access to distance learning.
18
                         6.        The Districts acted negligently during the Liability Period by
19
                         failing to provide students with the daily number of hours of
20
                         instruction mandated by law.
21
                         7.       The Districts acts and omissions alleged herein caused
22
                         negligent infliction of emotional distress to its students.
23

24
                         8.       The Districts violated Plaintiffs 14th Amending rights to

25
                         education.

26

27

28

                                                        13                      ____________
     Class Action Complaint
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1                                     THIRD CAUSE OF ACTION
2
                                            NEGLIGENCE
3
     56.         Plaintiffs re-alleges the paragraphs above as if fully set forth herein.
4
     57.         Plaintiffs allege the Districts are Local Educational Agencies under
5
     Education Code section 43500(c).
6
     58.         Education Code section 43504 provides a local educational agency shall
7
     offer in-person instruction to the greatest extent possible.
8
     59.          Plaintiffs allege the Districts violated Education Code sections 43500,
9
     34501, 43502, 43503 and 43504, by among other things, failing to provide any in-
10
     person learning, and failing to provide the required amount of instruction time per
11
     day to its students. Plaintiffs allege the Districts students have been harmed by
12
     the Districts failures and refusals to abide by the provisions of Education Code
13
     section 43500 et seq.
14

15   60.      Education Code section 51865(b) provides:
16              Distance learning should be utilized by the state to achieve the following
17
                educational goals:
18
                         (1) Equity in education, which requires that every pupil in California s
19                       public schools, and every adult in the state, have equal access to
20                       educational opportunities, regardless of where he or she lives or how
                         small a school the pupil attends.
21
                         (2) Quality in education, which would be enhanced through the
22
                         creative application of telecommunications, as pupils are given the
23                       opportunity to interact with pupils from other cultures and
24
                         geographical locations, and with outstanding educators from other
                         educational institutions.
25
                         (3) Diversity among educational institutions, which has been
26                       recognized in California through the support of various types of public
27                       educational institutions as well as of independent and private colleges
                         and universities. Distance learning technology permits greater
28

                                                     14                      ____________
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1                        diversity in the means of instruction and in the delivery of educational
2                        and training services to an adult population that is more and more
                         likely to seek education outside of the traditional baccalaureate
3                        program designed for four consecutive years on a full-time basis
4                        shortly after graduating from high school.
5                   (4) Efficiency and accountability, which receive increasing emphasis
                    as state budget resources become increasingly restricted. Distance
6
                    learning technologies can be effective only through the cooperative
7                   efforts of individuals from different institutions, a collaboration that
8
                    has the potential to reduce costs and increase efficiency. A
                    technology-integrated educational delivery system would allow for
9                   the electronic transmittal of files and reports, thus providing the
10
                    information needed for accountability more rapidly and at a lower
                    cost, and for video teleconferencing for state and local education and
11                  other government agencies, thereby diminishing travel requirements.
12   61.      Education Code section 51865(f) provides:
13            In expanding the use of distance learning technology, the state should
14
              emphasize the delivery of education and training services to populations
              currently not receiving those services, the ease of access by educational
15            institutions to the technology, and the lower cost over time of providing
16            instruction through distance learning rather than on site.

17   62.      Plaintiffs allege the Districts had duties to its students to, among other
18   things, (1) provide at least some in-person learning, (2) ensure that underprivileged
19   students and/or students from underserved communities receive equal access to
20   distance learning, and (3) provide students with the daily number of hours of
21   instruction mandated by law.
22   63.      Plaintiffs allege the Districts also had a duty of care and to act reasonably to
23   not engage in any acts or omissions which might harm their students, especially
24   acts or omissions which will cause harm to thousands of similarly situated
25   students.
26
     64.      Plaintiffs allege Defendants violated the Education Code by, among other
27
     things, failing to provide any in-person learning at all to Districts students, failing
28

                                                     15                      ____________
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1    to provide the Districts students with the required number of hours of instruction
2    per day, and failing to provide its students with equal access to education.
3    65.      Plaintiffs allege the Districts breached the above duties of care by, among
4    other things, not providing adequate access to distance learning to their students,
5    especially those students from disadvantaged or underserved communities and/or
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     homes.
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     66.       Plaintiffs allege that the aforementioned breaches of duty directly and
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     proximately caused, and continue to cause, damages to the Districts students.
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     67.       Plaintiffs allege the Districts violation of Education Code sections 43500
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     et seq. and 51865 is admissible evidence of negligence per se.
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     68.        Plaintiffs allege they and the Proposed Class have been harmed by
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     Defendants failures and refusals to provide educational services provided for by
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     the Education Code.
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                                  VI.   PRAYER FOR RELIEF

16            WHEREFORE, Plaintiffs request that the Court enter a judgment awarding
17   the following relief:
18          1. That the Court find in favor of Plaintiffs on Plaintiffs claim for
19   Declaratory Judgmxent;
20          2. That the Defendants be ordered to pay damages to Plaintiffs and the
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     Proposed Class and judgment be entered against Defendants according to proof;
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             3. That Defendant be ordered and enjoined to rectify Defendants unlawful
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     and unfair business practices as alleged herein;
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             4. That Plaintiffs be awarded Attorne      fees and costs pursuant to statute,
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     including but not limited to 42 U.S.C section 1988 and Code of Civil Procedure
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     section 1021.5;
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             5. Otherwise determine the appropriate remedy to compensate Plaintiffs
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1    and the proposed class, as required to promote fairness and justice, including but
2    not limited to establishing procedures for compensation, compensation amounts
3    and fluid recovery if appropriate.
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     DATED:              August 25, 2022    KARPEL LAW FIRM
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                                            Darin M. Karpel,
9                                           Attorney for Plaintiffs and the Proposed
                                            Class
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     Class Action Complaint
